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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                       4:06CR00136-02-WRW

TRAVIS PRICE


                                            ORDER

         A Hearing was held this date in United States of America v Travis Price, 4:06CR00330-

01-WRW. At the conclusion of that Hearing, the Government made an oral motion to dismiss

the Indictment filed against the separate defendant, Travis Price in this case. The motion was

GRANTED and the Indictment against Mr. Price is dismissed.

         IT IS SO ORDERED this 3rd day of April, 2008.




                                                         /s/Wm. R. Wilson, Jr.
                                                    UNITED STATES DISTRICT JUDGE




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